     Case 3:21-cr-00236-E Document 81 Filed 02/08/23           Page 1 of 20 PageID 521



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                         No. 3:21-CR-326-E

WILLIAM ROY STONE, JR. (1)
JOSEPH EVENTINO DELEON (2)

                 GOVERNMENT=S NOTICE OF INTENT TO OFFER
                 EVIDENCE PURSUANT TO FED. R. EVID. 902(14)

        The United States of America (“the government”) hereby notifies the defendants

of its intention to offer evidence under Fed. R. Evid. 902(14) during its case-in-chief.

The Federal Rules of Evidence provide:

            The following items of evidence are self-authenticating; they require no
        extrinsic evidence of authenticity in order to be admitted:

                                                ....

            (14) Certified Data Copied from an Electronic Device, Storage Medium,
        or File. Data copied from an electronic device, storage medium, or file, if
        authenticated by a process of digital identification, as shown by a certification of a
        qualified person that that complies with the certification requirements of Rule
        902(11) or (12). The proponent also must meet the notice requirements of Rule
        902(11).

Fed. R. Evid. 902(14).

        The following are the self-authenticating exhibits that the government intends to

offer during its case-in-chief pursuant to Rule 902(14):




Government’s Notice of Intent to Offer Evidence
Pursuant to Federal Rule of Evidence 902(14)—Page 1
   Case 3:21-cr-00236-E Document 81 Filed 02/08/23       Page 2 of 20 PageID 522



 Description                                                               Affidavit
 Fort Worth Police Department Cellebrite Extraction and Report for Apple   Ex. A
 iPhone 6S bearing IMEI 353300072374744, 817-313-7611 (DeLeon) (GX         Affidavit
 26)                                                                       of Troy
 Photo of 2014 Ford F-150 pickup extracted from Apple iPhone 6S (GX        Lawrence
 22)
 Photos of 3x5 cards extracted from Apple iPhone 6S (GX 30)

 Text messages between DeLeon and Stone extracted from Apple iPhone
 6S (GX 37)

 Text messages between DeLeon and C.T. extracted from Apple iPhone 6S
 (GX 38)

 DOJ-OIG Examination and Extraction Report for Apple iMac, bearing         Ex. B
 Serial Number C02TK1ZJJ1GH (GX 27)                                        Affidavit
 Spoof call recording on June 18, 2019 extracted from Apple iMac (GX       of Bradley
 56)                                                                       Leonard

 “DEA – Jordan Green” voice messages on June 29, 2019 extracted from
 Apple iMac (GX 90)
 Text messages between Stone and C.T. with “Dr. Bryan funeral” photos
 sent to C.T. extracted from Apple iMac (GX 118)
 Browsing history: Courtroom sounds, extracted from Apple iMac (GX
 138)
 Browsing history: Spoof calling, extracted from Apple iMac (GX 139)
 Browing history: Helicopter sounds, extracted from Apple iMac (GX 140)

 DOJ-OIG Cellphone Examination Results and Cellebrite Extraction           Ex. C
 Report and Supplemental Report for Apple iPhone 8 Plus, bearing IMEI      Affidavit
 356712080649965, 202-697-2932 (Stone) (GX 107)                            of Harry
                                                                           Lidsky
 DOJ-OIG Cellphone Examination Results and Cellebrite Extraction           Ex. D
 Report for Apple iPhone X, bearing IMEI 353054096588231, 214-422-         Affidavit
 2863 (Stone) (GX 108)                                                     of Harry
                                                                           Lidsky


Government’s Notice of Intent to Offer Evidence
Pursuant to Federal Rule of Evidence 902(14)—Page 2
   Case 3:21-cr-00236-E Document 81 Filed 02/08/23           Page 3 of 20 PageID 523



 Hood County Sheriff’s Office Cellebrite Extraction for Apple iPhone Xs     Ex. E
 Max (A1921), bearing IMEI 357277093843863 (Weisend) (GX 110)               Affidavit
                                                                            of Guy
 Recorded calls extracted from Apple iPhone Xs:                             Reynolds
      between Stone and C.T. dated Aug. 20, 2019 (GX 63), Aug. 21,
       2019 (GX 65), Aug. 30, 2019 (GX 67), Nov. 21, 2019 (GX 77),
       Dec. 12, 2019 at 11:38 a.m. (GX 79), Aug. 2, 2019 (GX 81), Aug.
       4, 2019 (GX 141), Aug. 8, 2019 (GX 143), Aug. 18, 2019 at 10:08
       p.m. (GX 145), Aug. 11, 2019 (GX 147), Aug. 12, 2011 (GX 149),
       Aug. 18, 2019 at 3:57 p.m. (GX 151)
      between DeLeon and C.T. dated Sept. 3, 2019 (GX 69), Sept. 12,
       2019 (GX 71), Sept. 27, 2019 (GX 73), Sept. 28, 2019 (GX 75)

 DOJ-OIG forensic extraction of Black Olympus VN-541PC 4.0GB Digital        Ex. F
 Recorder, bearing serial number 100648315 (GX 120)                         Affidavit
 Recording of phone call between Stone and psychic extracted from           of Bradley
 Olympus Digital Recorder (GX 116)                                          Leonard
 DOJ-OIG Cellphone Examination Results and Cellebrite Extraction            Ex. G
 Report for Apple iPhone 5s, bearing IMEI 013967000516372 (C.T.) (GX        Affidavit
 121)                                                                       of Bradley
 Photos of 3x5 cards extracted from Apple iPhone 5s (GX 29)                 Leonard
 DOJ-OIG Cellphone Examination Results and Cellebrite Extraction            Ex. H
 Report for Apple iPhone 6s Plus, bearing IMEI 353297073695418 (C.T.)       Affidavit
 (GX 122)                                                                   of Bradley
 Photos of 3x5 cards extracted from Apple iPhone 6s Plus (GX 88)            Leonard
 Voice message of DeLeon to C.T. extracted from Apple iPhone 6s Plus
 (GX 124)


       The foregoing exhibits were previously provided to the defendants and have

accompanying certifications complying with the requirements of Fed. R. Evid. 902(14),

which are attached to this Notice as Exhibits A through H.




Government’s Notice of Intent to Offer Evidence
Pursuant to Federal Rule of Evidence 902(14)—Page 3
   Case 3:21-cr-00236-E Document 81 Filed 02/08/23              Page 4 of 20 PageID 524



                                              Respectfully submitted,

                                              LEIGHA SIMONTON
                                              UNITED STATES ATTORNEY

                                              s/ Katherine Miller
                                              KATHERINE MILLER
                                              Assistant United States Attorney
                                              Texas Bar No. 00789107
                                              1100 Commerce Street, Third Floor
                                              Dallas, Texas 75242
                                              Telephone: 214.659.8600
                                              Facsimile: 214.659.8805
                                              Email: katherine.miller@usdoj.gov

                                CERTIFICATE OF SERVICE

      I hereby certify that on February 8, 2023, I electronically filed the foregoing
document with the Clerk of Court for the United States District Court, Northern District
of Texas, using the electronic case filing system of the Court. The electronic case filing
system sent a “Notice of Electronic Filing” to all attorney(s) of record who have
consented in writing to accept this Notice as service of this document by electronic
means.

                                               s/ Katherine Miller
                                              KATHERINE MILLER
                                              Assistant United States Attorney




Government’s Notice of Intent to Offer Evidence
Pursuant to Federal Rule of Evidence 902(14)—Page 4
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 5 of 20 PageID 525




               EXHIBIT A
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 6 of 20 PageID 526
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 7 of 20 PageID 527




               EXHIBIT B
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 8 of 20 PageID 528
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 9 of 20 PageID 529




               EXHIBIT C
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 10 of 20 PageID 530
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 11 of 20 PageID 531




                EXHIBIT D
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 12 of 20 PageID 532
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 13 of 20 PageID 533




                EXHIBIT E
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 14 of 20 PageID 534
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 15 of 20 PageID 535




                EXHIBIT F
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 16 of 20 PageID 536
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 17 of 20 PageID 537




               EXHIBIT G
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 18 of 20 PageID 538
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 19 of 20 PageID 539




               EXHIBIT H
Case 3:21-cr-00236-E Document 81 Filed 02/08/23   Page 20 of 20 PageID 540
